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  U.S. v. Edward S. Adams
 Case No. 17-64 (DWF/KMM)



                      Exhibit 7
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       CASE 0:17-cr-00064-DWF-KMM Doc. 173-5 Filed 07/23/18 Page 3 of 6



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       CASE 0:17-cr-00064-DWF-KMM Doc. 173-5 Filed 07/23/18 Page 4 of 6



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       CASE 0:17-cr-00064-DWF-KMM Doc. 173-5 Filed 07/23/18 Page 5 of 6



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       CASE 0:17-cr-00064-DWF-KMM Doc. 173-5 Filed 07/23/18 Page 6 of 6



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